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                            UNITED STATES DISTRICT COURT
                                            FOR THE
                             SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION
DAVID AND FLOMARA MCGREGOR §
     Plaintiffs             §
                            §
Vs.                         §                        CASE NO. 4:22-cv-01782
                            §
FAY SERVICING, LLC, RESCONN §
CAPITAL MANAGEMENT, LLC     §
& DAVID E. BROWN            §
     Defendants.            §


              OBJECTION TO APPLICATION FOR INJUNCTIVE RELIEF

       Defendants, RESCONN Capital Management, LLC and David E. Brown file this objection

to Plaintiffs’ application for temporary restraining order, supported by the attached Declaration of

David E. Brown, and would show as follows:


DEFENDANTS OBJECT TO THE GRANTING OF INJUNCTIVE RELIEF BECAUSE PLAINTIFFS CANNOT
                 MEET THE ELEMENTS FOR THE GRANTING OF AN INJUNCTION

       1.      Defendants object that Plaintiffs cannot show a substantial likelihood of applicant’s

success on the merits. In fact, Plaintiff have alleged no facts that even state a cognizable claim

against RESCONN or its sole manager, Defendant, David E. Brown.

       2.      Defendants object that Plaintiffs cannot show they will suffer an irreparable injury

in the absence of the injunction because they do have an adequate remedy at law. Under Texas

law, “following a wrongful foreclosure sale conducted pursuant to a power of sale contained within

a deed of trust, the mortgagor may elect to (1) set aside the void trustee's deed; or (2) recover

damages in the amount of the value of the property less indebtedness.” Diversified, Inc. v.

Gibraltar Sav. Asso., 762 S.W.2d 620, 623 (Tex. App.—Houston [14th Dist.] 1988, writ denied);


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see also, Pinnacle Premier Props. v. Breton, 447 S.W.3d 558, 565 (Tex. App.—Houston [14th

Dist.] 2014, no pet.) (Noting that appellees had an adequate remedy at law of rescission of the sale

or recovery of money for a meritorious wrongful foreclosure claim).

       3.      Defendants object that Plaintiffs cannot show that the equities balance in their

favor. RESCONN purchased the subject property at foreclosure in April of this year and Plaintiffs

have occupied the property, rent free, since that time. (Declaration of David E. Brown, pars. 2

&4). Furthermore, as stated above, Plaintiffs’ remedy, in the unlikely event that they can show a

wrongful foreclosure, is not to live rent free until the final disposition of this case, but monetary

damages or rescission of the sale.

       4.      Furthermore, Plaintiffs did not even seek to enjoin the April 2022 foreclosure sale,

or immediately undo the sale. In fact, after the state court denied Plaintiffs’ application for a

temporary restraining order to stop their eviction, Plaintiffs did not even show up at the scheduled

temporary injunction hearing.


DEFENDANTS OBJECT TO PLAINTIFFS’ APPLICATION FOR INJUNCTIVE RELIEF AS FORBIDDEN
                       UNDER THE ANTI-INJUNCTION ACT

       5.      Defendants object that the relief Plaintiffs seek in their application for injunctive

relief is forbidden by the Anti-Injunction Act found at 28 U.S.C. § 2283. Under the terms of that

act, a federal district court “may not grant an injunction to stay proceedings in a state court except

as expressly authorized by an Act of Congress, or where necessary in aid of its jurisdiction, or to

protect or effectuate its judgments.” 28 U.S.C. § 2283. In this case, Plaintiffs are asking the Court

to issue an order forbidding Harris County Civil Court at Law No. 2 from holding a trial de novo

as an appeal of the eviction case that Plaintiffs lost at the Justice Court level. That is exactly the

type of thing that the Anti-Injunction Act was enacted to prevent.



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                                           CONCLUSION

       For these reasons, Defendants, RESCONN Capital Management, LLC and David E.

Brown ask the Court, after hearing, to deny Plaintiffs’ application for injunctive relief and to

grant Defendants such other and further relief to which the Court may find them justly entitled.




                                                      Respectfully submitted,

                                                      CAIN | KING

                                                      /s/ Lee Keller King
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                                                          & David Brown




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                                      CERTIFICATE OF SERVICE

         I certify that I served a true and correct copy of the foregoing on all parties as provided

Rule 5(b) of the Federal Rules of Civil Procedure, as shown below, October 18, 2022, as shown

below:

Plaintiffs, pro se, David and Flomara McGregor, via the Court’s CM/ECF system and/or email to
flom22@yahoo.com and earlmc22003@yahoo.com.

Robert T. Mowrey, attorney for Fay Servicing, LLC via the Court’s CM/ECF system to
rmowrey@lockelord.com.


                                                        /s/ Lee Keller King




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